






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00654-CV






Jose Resendez, Appellant


v.


Adnan Awad, Individually and d/b/a Beverage Barn; and Doreid Awad, Individually and
d/b/a Beverage Barn, Appellees






FROM THE DISTRICT COURT OF BASTROP COUNTY, 335TH JUDICIAL DISTRICT

NO. 26,261, HONORABLE REVA TOWSLEE-CORBETT, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Jose Resendez has filed an unopposed motion asking this Court to abate 

this appeal and remand the proceedings to the trial court.  The motion states that the parties have
reached a settlement agreement.  Accordingly, we grant the motion, abate the appeal, and permit
proceedings in the trial court to effectuate the parties' agreement.  See Tex. R. App. P. 42.1(a)(2)(C). 
The appeal shall be abated until such time as the parties file a motion to reinstate and dismiss the
appeal, no later than February 10, 2009.  If the agreement is not finalized by that date, the parties
shall file a report advising this Court on the status of the proceedings in the trial court.





						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Abated

Filed:   December 12, 2008


